Case: 2:19-cv-00119-MHW-EPD Doc #: 42 Filed: 11/06/19 Page: 1 of 2 PAGEID #: 222




                    IN THE UNITED STATED DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

STEPHANIE CLIFFORD                           :
                                             :
                    Plaintiff,               :   Case No. 2:19-cv-00119
                                             :
      v.                                     :   Judge Michael H. Watson
                                             :   Magistrate Judge Elizabeth Preston Deavers
SHANA M. KECKLEY, ET AL.                     :
                                             :
                    Defendants.              :

                       NOTICE OFAPPEARANCE
     OF TRIAL ATTORNEY FOR JUDGMENT CREDITOR, DONALD J. TRUMP

      The undersigned hereby give Notice of the Appearance of the law firm of Harris,

McClellan, Binau & Cox P.L.L. and the following counsel for Judgment Creditor, Donald J.

Trump (“Judgment Creditor”):

             Dan J. Binau (0025376), Trial Attorney
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                                         Respectfully submitted,

                                         /s/ Dan J. Binau
                                         DAN J. BINAU (0025376), Trial Attorney
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                                         Counsel for Judgment Creditor, Donald J. Trump
Case: 2:19-cv-00119-MHW-EPD Doc #: 42 Filed: 11/06/19 Page: 2 of 2 PAGEID #: 223




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

was filed through the Court’s CM/EFC filing system this 6th day of November, 2019, which shall

serve a copy of the document upon all registered counsel of record.


                                            /s/ Dan J. Binau
                                            DAN J. BINAU         (0025376)
                                            Counsel for Judgment Creditor, Donald J. Trump
